Case 2:17-md-02789-CCC-MF Document 288-2 Filed 12/27/18 Page 1 of 2 PageID: 12914



  SEEGER WEISS LLP
  55 CHALLENGER ROAD
  6TH FLOOR
  RIDGEFIELD PARK, NJ 07660
  (973) 639-9100
  Attorneys for Plaintiff

                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                     NEWARK DIVISION


   IN RE: PROTON-PUMP INHIBITOR                         MDL No. 2789
   PRODUCTS LIABILITY LITIGATION
   (NO. II)                                             JUDGE CLAIRE C. CECCHI

                                                        MAGISTRATE MARK FALK

                                                        Case No.: 2:17-md-2789 (CCC)(MF)
   This Document Relates to:
                                                           DECLARATION OF ASIM M.
                                                        BADARUZZAMAN, ESQ. IN SUPPORT
   Peter Mos v. AstraZeneca Pharmaceuticals LP             OF MOTION FOR LEAVE TO
   2:18-cv-05435-CCC-MF                                   WITHDRAW AS ATTORNEY OF
                                                        RECORD FOR PLAINTIFF PETER MOS


         I, Asim M. Badaruzzaman, declare and state as follows:

         1.        I am an associate of Seeger Weiss LLP, an attorney at law of the State of New

  Jersey, and counsel of record for the Plaintiff herein.

         2.        The facts contained herein are within my personal knowledge, and if called upon

  as a witness I could and would competently testify to the following under oath.

         3.        Plaintiff, through his Counsel, filed this action in the District of New Jersey on

  April 4, 2018.

         4.        On December 13, 2018, Defendants filed a Motion to Compel Plaintiff’s Fact

  Sheet Responses pursuant to Case Management Order No. 9.

         5.        Since the filing of Plaintiff’s complaint, however, a conflict has arisen between
Case 2:17-md-02789-CCC-MF Document 288-2 Filed 12/27/18 Page 2 of 2 PageID: 12915



  Plaintiff and his Counsel, making it unreasonably difficult for Seeger Weiss LLP to represent

  Plaintiff in this action.

          6.      Plaintiff was notified of our Motion for Leave to Withdraw via certified mail to

  his last known residential address as well as by email.

          7.      The notice to Plaintiff also advised him that he should retain other counsel.

          8.      No case-specific discovery has been completed in this matter and no trial date has

  been set.

          9.      Should the Court require specificity regarding the conflict and Seeger Weiss

  LLP’s numerous attempts to communicate with Mr. Mos, I respectfully request that the Court

  permit an in camera hearing so that I may provide the Court with such additional information

  that the Court deems necessary. Should the Court require it, I will also provide the Court with an

  affidavit, filed under seal, which provides additional detail with respect to the aforementioned

  conflict.

          10.     A copy of this Motion has been sent to Plaintiff via certified mail, e-mail, and

  overnight courier on December 27, 2018.

          I declare under penalty of perjury under the laws of the United States of America and the

  State of New Jersey that the foregoing is true and correct and that this Declaration was executed

  on this 27th day of December 2018 at Ridgefield Park, New Jersey.

  Date: December 27, 2018                                       RESPECTFULLY SUBMITTED,

                                                                /s/ Asim M. Badaruzzaman________
                                                                Asim M. Badaruzzaman
                                                                SEEGER WEISS LLP
                                                                55 Challenger Road, 6th Floor
                                                                Ridgefield Park, NJ 07660
                                                                Ph: (973) 639-9100
                                                                Fax: (973) 679-8656
                                                                abadaruzzaman@seegerweiss.com

                                                   2
